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UNITED sTA TEs DISTRICT COURT F"-l 1 §§ i_
WESTERN DISTRICT OF TENNESSEE 95 APR 18 PH U.
WESTERN DIVISIGN “J
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vvu. oi- TN, maiv'iPHie'

PLUMBERS LOCAL UNION NO. 17; JUDGMENT IN A CIVIL CASE
DAVID SINK, as Chairman of the Board of

Trustees for the MEMPHIS C()NSTRUCTION

BENEFIT FUND; DAVID SINK, as Chairman

of the Board of Trustees for the PLUMBERS

LOCAL UNION NO. 17 PENSION PLAN; and

DAVID SINK, as Chairman of the Board of

Trustees for the PLUMBERS LOCAL UNION

NO. 17 IMPROVEMENT TRUST FUND,

Plaintiffs,
v.

RALEIGH PLUMBING C()MPANY, INC., CASE NO: 02-2592-B

Defendant.

 

DECISION BY C()URT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered.

IT IS SO ORDERED AND AD.IUDGED that in accordance with the Order entered on
February 24, 2005, this cause is hereby dismissed with prejudice.

A OVED:

 

.I) NIEL BREEN "
UN ED sTATEs DIsTRICT coURT

f Od/ "?§=:i§i§.i' H. DlTii;., ;
Date Clerk of Court

 

Thi s document entered on the docket heet in compliance
with Ftuie 58 and/or 79(a) FFtCP on fl l 912\:) id

   

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Honorable J. Breen
US DISTRICT COURT

